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   A0 245B (Rev. 06/05) Judgment in a Criminal Case
              Sheet 1



                                        UNITED STATES DISTRICT COURT
                        MIDDLE                                     District of                                   ALABAMA
         UNITED STATES OF AMERICA                                          JUDGMENT IN A CRIMINAL CASE
                       V.
         BERNETTA LASHAY WILLIS
 a/k/a "Nettie," "Hot Girl," "Hottie," "Hi-Girl,"                          Case Number:                         2:06CR71-MEF-01
                    "LaShay"
                                                                           USM Number:                          11880-002

                                                                           Timothy C. Halstrom
                                                                           Defendant's Attorney
THE DEFENDANT:
0 pleaded guilty to count(s)
0 pleaded nob contendere to count(s) __________________________________________________________________________________
   which was accepted by the court.
X was found guilty on count(s)  iss, 2ss-6ss, 8ss-9ss, l5ss-l6ss, l8ss - 2lss, 23ss, 24ss, 25ss, 27ss, 28ss, 29ss, 3Oss, 3lss
   by a jury on March 30, 2007.

The defendant is adjudicated guilty of these offenses:

Title & Section               Nature of Offense                                                                 Offense Ended             Count
18:371                        Conspiracy to Defraud the United States                                           1/20/2006          iss
18:641                        Public Money, Property or Records                                                 9/15/2005          2ss-6ss
18:287 & 2                    False or Fraudulent Claims/Aiding & Abetting                                      12/19/2005         8ss-9ss
18:641 & 2                    Public Money, Property or Records/Aiding & Abetting                               9/18/2005          l5ss-l6ss
18:641                        Public Money, Property or Records                                                 9/12/2005          l8ss
18:641                        Public Money, Property or Records                                                 9/29/2005          l9ss
       The defendant is sentenced as provided in pages 2 through      7    of this judgment.                    The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
X The defendant has been found not guilty on count(s)            7ss, lOss, l7ss, and 26ss
X Count(s) 1-4, 5, 6, is, 2s-6s, 7s-8s, 13s-14s, 0 is                X are dismissed on the motion of the United States.
15s-2is, 22s, 23s, 24s, 25s 22ss
         It is ordered that tie defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fmes, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                          January 9, 2008
                                                                          Date of Imposition ofjdgment



                                                                          Signature ff Judge




                                                                          MARK E. FULLER. CHIEF U.S. DISTRICT JUDGE
                                                                          Name and Title of Judge


                                                                                 /7                      t.o,
                                                                          Date                      1
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 AO 245B   (Rev. 06/05) Judgment in a Criminal Case
           Sheet 1A

                                                                                        Judgment—Paae   2      of   7
 DEFENDANT:     BERNETTA LASIIAY WILLIS
 CASE NUMBER: 2:06CR71-MEF-01

                                         ADDITIONAL COUNTS OF CONVICTION
Title & Section                Nature of Offense                                    Offense Ended           Count
18:641                         Public Money, Property or Records                    9/19/2005               2Oss
18:641                         Public Money, Property or Records                    9/30/2005               2lss
18:641                         Public Money, Property or Records                    9/25/2005               23ss
18:641                         Public Money, Property or Records                    10/17/2005              24ss
18: 1028(a)(1)                 Fraud with Identification Documents                  10/17/2005              25ss
18: 1512(a)(2)(A)              Tampering with Witness, Victim or an Informant       1/23/2006               27ss
18:924(c)(1)(A)(I) and         Violent Crime/Drugs/Guns                             1/23/2006               28ss
(ii)
21:841(a)(1)                   Controlled Substance-Sell, Distribute, or Dispense   1/27/2006               29ss
18:924(c)(1)(A)                Violent Crime/Drugs/Guns                             1/27/2006               3Oss
18:1001(a)(2)                  Statements or Entries Generally                      11/15/2006              3lss
                      Case 2:06-cr-00071-MHT-SMD Document 286 Filed 01/17/08 Page 3 of 7
AO 245B      (Rev. 06/05) Judgment in Criminal Case
             Sheet 2— Jmprisonment
                                                                                                      Judgment - Page   3      of   7
DEFENDANT:                      BERNETTA LASIIAY WILLIS
CASE NUMBER:                    2:06CR71-MEF-0l


                                                            IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:

Five hundred sixteen (516) months. This terms consists of 108 months as to Counts iss through 6ss, 8ss, 9ss, lSss,
l6ss, l8ss, l9ss, 2Oss, 2lss, 23ss, 24ss, 27ss, 29ss and 3lss, concurrently; followed by a consecutive sentence of 34 years
(2 years as to Count 25ss; 7 years as to Count 28ss; and 25 years as to Count 3Oss, for a total of 516 months.

     XThe court makes the following recommendations to the Bureau of Prisons:

          The Court recommends that defendant be designated to a facility where Intensive Residential Substance Abuse
          Treatment is available.


     X The defendant is remanded to the custody of the United States Marshal.

     DThe defendant shall surrender to the United States Marshal for this district:

          oat ____________________ 0 a.m. 0 p.m. on
          o as notified by the United States Marshal.

     EIThe defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          0 before 2 p.m. on
          0 as notified by the United States Marshal.
          0 as notified by the Probation or Pretrial Services Office.


                                                                  RETURN
I have executed this judgment as follows:




       Defendant delivered on                                                            to

at                                                    with a certified copy of this judgment.



                                                                                                   UNITED STATES MARSHAL


                                                                          By
                                                                                                DEPUTY UNITED STATES MARSHAL
                        Case 2:06-cr-00071-MHT-SMD Document 286 Filed 01/17/08 Page 4 of 7
AO 245B       (Rev. 06/05) Judgment in a Criminal Case
              Sheet 3 - Supervised Release
                                                                                                            Judgment—Page      4     of          7
DEFENDANT:   BERNETTA LASIIAY WILLIS
CASE NUMBER: 2:06CR71-MEF-01
                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:

Three years on Counts iss through 6ss, 8ss, 9ss, l5ss, l6ss, l8ss, l9ss, 2Oss, 2lss, 23ss, 24ss, 25ss, 27ss, 29ss and 3lss; and 5 years as
to Counts 28ss and 3Oss, all such terms to run concurrently.


     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
         The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)
X The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
X The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
U        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
         student, as directed by the probation officer. (Check, if applicable.)
U The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
    If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
    1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
    2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
          each month;
    3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
    4)    the defendant shall support his or her dependents and meet other family responsibilities;
    5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
    6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
    7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
    8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant s compliance with such notification requirement.
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AO 245B   (Rev. 06/05) Judgment in a Criminal Case
          Sheet 3C - Supervised Release
                                                                                        Judgment—Page   5    of        7
DEFENDANT:   BERNETTA LASHAY WILLIS
CASE NUMBER: 2:06CR71-MEF-01

                                        SPECIAL CONDITIONS OF SUPERVISION
Defendant shall participate in a program of drug testing administered by the United States Probation Office.
Defendant shall provide the probation officer any requested financial information.
Defendant shall not obtain new credit without approval of the Court unless in compliance with the payment schedule.
Defendant shall participate in a mental health treatment program approved by the United States Probation Office
and contribute to the cost based on ability to pay and availability of third party payments.
Defendant shall submit to a search of her person, residence, office or vehicle pursuant to the search policy of this
Court.
                     Case 2:06-cr-00071-MHT-SMD Document 286 Filed 01/17/08 Page 6 of 7
AO 245B     (Rev. 06/05) Judgment in a Criminal Case
            Sheet 5—Criminal Monetary Penalties
                                                                                                   Judgment - Page       6     of        7
 DEFENDANT:                         BERNETTA LASHAY WILLIS
 CASE NUMBER:                       2:06CR71-MEF-0l
                                                CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                      Assessment                                     Fine                                  Restitution
 TOTALS            $ 2,200.00                                       $0                                   $ 79,607.45


 D The determination of restitution is deferred until ______. An Amended Judgment in a Criminal Case (AO 245C) will be entered
    after such determination.

 LII The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximatelyproportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3 664(i), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                  Total Loss*                   Restitution Ordered                     Priority or Percenta2e
FEMA                                                                                         79,607.45
P.O. Box 70941
Charlotte, NC 28272-094 1
Bernetta Willis -
Disaster #:1603




TOTALS                               $                          0        $                   79607.45


0 Restitution amount ordered pursuant to plea agreement $

o The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fme is paid in full before the
  fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
  to penalties for delinquency and default, pursuant to 18 U.S.C. § 36 12(g).

X The court determined that the defendant does not have the ability to pay interest and it is ordered that:
     X the interest requirement is waived for the [J fine X restitution.
      0 the interest requirement for the           0 fine LI restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 1 09A, 110, 11 OA, and 11 3A ofTitle 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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AO 245B      (Rev. 06/05) Judgment in a Criminal Case
             Sheet 6— Schedule of Payments
                                                                                                          Judgment - Page      7     of      7
DEFENDANT:   BERNETTA LASHAY WILLIS
CASE NUMBER: 2:06CR71-MEF-01

                                                        SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A X Lump sum payment of $ 81,807.45                          due immediately, balance due

             0 not later than __________________________ , or
             x in accordance         0 C,       D,          E, or X F below; or

B 0 Payment to begin inmiediately (maybe combined with DC,                            fl D, or D F below); or
C         J Payment in equal ____________ (e.g., weekly, monthly, quarterly) installments of $ ____________ over a period of
            ___________ (e.g., months or years), to commence __________ (e.g., 30 or 60 days) after the date of this judgment; or

D         J Payment in equal ____________ (e.g., weekly, monthly, quarterly) installments of $ ____________ over a period of
            ____________ (e.g., months or years), to commence __________ (e.g., 30 or 60 days) after release from imprisonment to a
             term of supervision; or

E 0 Payment during the term of supervised release will commence within ___________ (e.g., 30 or 60 days) after release from
        imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F X Special instructions regarding the payment of criminal monetary penalties:

             Criminal monetary payments shall be made payable to the Clerk, U.S. District Court, Middle District of Alabama, P.O.
             Box 711, Montgomery, AL 36101.
             Restitution is due immediately. Any balance remaining at the start of supervision shall be paid at the rate not less than
             $200.00 per month.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All cruninal monetary penalties, except those payments made through the Federal Bureau of Pnsons' Inmate Financia1
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



0 Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




0 The defendant shall pay the cost of prosecution.

0 The defendant shall pay the following court cost(s):

o The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
